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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )              CASE NO. 8:02CR164
                                             )
              Plaintiff,                     )
                                             )
              vs.                            )                     ORDER
                                             )
YAMIL RIVERA-KADER,                          )
                                             )
              Defendant.                     )

       This matter is before the Court on the Defendant’s pro se motion to compel the

government to file a motion under Federal Rule of Criminal Procedure 35 (Filing No. 574).

       The plea agreement provides:

               Any cooperation provided by you will be considered by the United
       States Attorney, or [her] designate, under Sentencing Guideline § 5K1.1,
       and/or, separately, under Title 18 U.S.C. § 3553(e), and/or, separately, under
       Federal Rule of Criminal Procedure 35(b). The United States Attorney, or
       [her] designate, in his or her sole discretion, will determine whether and to
       what extent any such motions should be filed. . . . [Y]ou knowingly and
       voluntarily waive any right which you may have to challenge the
       government’s decision not to file or seek a downward departure pursuant to
       . . . Rule 35(b), except upon a substantial threshold shown by you that any
       such decision was based upon an unconstitutional motive related to your
       race, religion, gender, or national origin, or except upon an appropriate
       showing of a violation of your Sixth Amendment Right to Counsel.

(Filing No. 487, ¶ 4.)

       The Defendant has not made the substantial showing required to allow him to

challenge the absence of a Rule 35 motion.

       IT IS ORDERED:

       1.     The Defendant’s pro se motion to compel the government to file a motion

              under Federal Rule of Criminal Procedure 35 (Filing No. 574) is denied; and
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     2.    The Clerk is directed to mail a copy of this order to the Defendant at his last

           known address.

     DATED this 7th day of July, 2010.

                                               BY THE COURT:


                                               s/Laurie Smith Camp
                                               United States District Judge




                                           2
